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                                                                                                     E-FILED
Judgment in a Civil Case (02/11)                                            Tuesday, 12 July, 2011 02:47:58 PM
                                                                                 Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                      for the
                                             Central District of Illinois


          Cedric Dupree                             )
                                                    )
                                                    )
                               vs.                  )      Case Number: 08-1180
                                                    )
          Lt. Deatherage; Ms. Gragert; C/O Gavin; )
          Nurse Terri Arroyo; C/O Blackwell; C/O    )
          Hellen Hamilton; Counselor Sandra Russell;)
          Lt Gish; C/O Whittaker; CMT Young; Dr. )
          Arthur Funk; C/O Clause; C/O Ware; C/O )
          Smithson; Lt Echart; Lt Punke; Larry Beck;)
          C/O Gerberdine; C/O Scott; C/O Burges; )
          Sgt Khuse; C/O McBurney; C/O Maddox; )
          Lt Glenn French; Lt Reggie Brewer; C/O )
          Halley; Sgt Leonard; Dr Kowalkowski; C/O )
          Lindsey; Sgt Potts; C/O Gaines; Roger     )
          Walker, Director of IL Department of      )
          Corrections; C/O R Fairall; CMT Brown; )
          C/O Jewles Maxfield; Warden Guy Pierce; )
          R Hastings; C/O Woods; C/O Gardner;       )
          C/O Richards; Dr Fletcher; C/O            )
          Salzman; Dr Coco; C/O R Lindsey; C/O      )
          Ramsey; Dr Smith; Dave Lingle;C/O M       )
          White; C/O Kenneth Mottershaw;            )
          Lt Judy Ellinger; C/O Jack Libby;         )
          C/O Jack Overfelt; C/O Holycross;         )
          Dr Chow; C/O Lane; C/O Jones; D           )
          Barthold; C/O Trovera; C/O King; C/O      )
          Fritsche; C/O Gestner; C/O Troyer; C/O    )
          Dicks; Marge Habb, Mailroom Supervisor )
          of PCC; Mjr Quinley; Lt Cronnie; C/O R. )
          Hitchens; C/O Loyd; Lt Benny Dallas; Lt )
          Todd; C/O Yusko; C/O Tangerman; C/O       )
          C/O Painter; C/O Prentice; C/O Mary       )
          Fritzelle; C/O Mr Dawson; Warden Eddie; )
          Jones; C/O Brubacker; Supt Mike Melvin; )
          Peggy Parker; Warden Joseph Mathy; Steve )
          Endres; C/O Small; C/O Newhall; C/O Boase;)
          Warden Lt Hardy; Nick Sullivan; Karen     )
          Beecher; C/O Trainor; Lt Delong; Stephen Mote, )
          Warden; C/O Riccalo; Michelle Clark; C/O Bruce )
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          Brand; G Jones; John Garlick; C/O Leo Smith;         )
          Wayne Germaine; C/O Bohm; Dr Vade; Angus             )
          Alton; C/O Gilbert; C/O Dunzan; Paula Rich;          )
           Lt Johnson; Dr Larson; Richard Runyon; C/O          )
          Gerdes; Mark Spencer; C/O Mary Hodge; C/O            )
          Teske; Karen Zehr; C/O Bennette; C/O Keith;          )
          C/O Townsend; C/O Paul; C/O Chalkey; C/O             )
          Baker; C/O Henderson; C/O Eileer; C/O Sipple;        )
          CMT Christine Beasley; C/O Knight; C/O R             )
          Allen; C/O Forbes; C/O Troyer; C/O Vilt; C/O         )
          Joseph Lewis; Lt Evans; Dr. S Mahone, Medical        )
          Director; Lt Shaw; Nurse Joel; Prisoner Review       )
          Board, in their individual capacities                )

                                        JUDGMENT IN A CIVIL CASE


           DECISION BY THE COURT. This action came before the Court and a decision has been
          rendered.

                 IT IS ORDERED AND ADJUDGED pursuant to filing of First Amended Complaint
          filed on July 8, 2009, Defendants Gragert, Gavin, Prisoner Review Board, Hellen Hamilton,
          Sandra Russell, Young, Arthur Funk, Clause, Ware, Echart, Punke, Larry Beck, C/O Gerberdine,
          Scott, Burges, Khuse, McBurney, Maddox, Glenn French, Reggie Brewer, Halley, Leonard,
          Kowalkowski, Lindsey, Potts, Gaines, C/O R Fairall, Brown, Jewles Maxfield, R Hastings,
          Woods, Gardner, Richards, Fletcher, Salzman, Dr Coco, R Lindsey, Ramsey, Smith, Dave
          Lingle, M White, Holycross, Chow, Jones, D Barthold, Trovera, Kling, Fritsche, Gestner,
          Troyer, Dicks, Marge Habb, Cronnie, Hitchens, Loyd, Benny Dallas, Yuscko, Tangerman, C/O
          Painter, Mary Fritzelle, Dawson, Brubaker, Mike Melvin, Peggy Parker, Steve Endres, Small,
          Newhall, Boase, Lt Hardy, Nick Sullivan, Karen Beecher, Delong, Riccalo, Michelle Clark, G
          Jones, John Garlick, Leo Smith, Wayne Germaine, Angus, Alton, Paula Rich, Johnson, Larson,
          Richard Runyon, Gerdes, Mark Spencer, Teske, Karen Zehr, Bennette, Keith, Townsend, Paul,
          Chalkey, Baker, and C/O Hendrixson are terminted. Pursuant to Case Management Order #3
          Derfendants Deatherage, Terri Arroyo, Blackwell, Gish, Whittaker, Smithson, Roger Walker,
          Guy Pierce, Kenneth Mottershaw, Judy Ellinger, Jack Libby, Jack Overfelt, Lane, Quinley,
          Todd, Prentice, Eddie Jones, Joseph Mathy, Trainor, Stephen Mote, Bruce Brand, Bohm, Dr.
          Vade, Gilbert, Dunzan, Mary Hodge, Eileer, Sipple, Christine Beasley, R Allen, Forbes, Troyer,
          Vilt, Joseph Lewis, Evans, Dr. S. Mahone, Shaw, and Joel are terminated. Pursuant to Summary
          Judgment Order entered on July 6, 2011, judgment is entered in favor of Defendant Knight and
          against Plaintiff Cedric Dupree pursuant to Fed. R. Civ. P. 56. Parties to bear their own costs.

          Dated: 7/12/2011
                                                      s/ Pamela E. Robinson
                                                      Pamela E. Robinson
                                                      Clerk, U.S. District Court
